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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DAVID SICKLE, et al.,

               Plaintiffs,

v.                                                    Case No.: 1:11-cv-02224-KBJ

TORRES ADVANCED ENTERPRISE
SOLUTIONS, LLC, et al.,

               Defendants.



                                   JOINT STATUS REPORT

       Pursuant to this Court’s Minute Order issued on Monday, September 14, 2020, Plaintiffs

David Sickle and Matthew Elliott and Defendant Torres Advanced Enterprise Solutions, LLC

(“Torres”) (collectively, the “Parties”), by and through their respective undersigned counsel,

hereby submit the following status report.

       The Parties are actively engaged in settlement negotiations and wish to submit to

alternative dispute resolution should their unassisted settlement discussions fail. For that reason,

the Parties believe it would be inefficient and counterproductive to proceed with discovery at this

time. On Tuesday, September 29, 2020, counsel for Plaintiffs submitted Plaintiffs’ current

demand to counsel for Torres, which demand reflects an adjustment to Plaintiffs’ initial demand

in light of the Court’s recent decision on Torres’ motion to dismiss. In order for Torres to

respond with a meaningful counteroffer and for the parties to continue pursuing settlement and,

if necessary, alternative dispute resolution, the Parties request that proceedings in this case be

suspended for forty-five days.




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       The Parties will file a joint status report on or before Monday, November 16, 2020,

apprising the Court of the status of settlement negotiations.

Dated: October 1, 2020



/s/ Scott J. Bloch, Esq.______________            /s/ A. Jeff Ifrah______________
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Counsel for David Sickle and Matthew Elliott      Counsel for Torres Advanced Enterprise
                                                  Solutions, LLC




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                                 CERTIFICATE OF SERVICE
       I hereby certify that on October 1, 2020, I caused a copy of the foregoing to be filed with

the Clerk of Court using the Court’s CM/ECF system, which will send a notification of

electronic filing (NEF) to all counsel of record.



                                                        /s/ Jeffrey R Hamlin
                                                        Jeffrey R. Hamlin (DC Bar no. 478256)




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